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     IT IS ORDERED as set forth below:




     Date: July 1, 2019


___________________________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF GEORGIA
                                           AUGUSTA DIVISON


        GERALD HENDERSON                                 CHAPTER 7
        TIFFANY FLOURNOY                                 CASE NO. 19-10015
                  DEBTORS,




                                                   ORDER
               Notice having been given and no objections having been filed,

               IT IS HEREBY ORDERED that the Debtor be allowed to redeem the property

               described as: Headphones, Purse, Tote and Atlas hdgn by paying the creditor, Army

               & Air Force Exchanged SVC- Military Star the sum of $175.00 within ten (10) days

               of the entry of this Order, and finding that the remainder of the claim of said creditor

               is a dischargeable consumer debt.

                                         [END OF DOCUMENT]
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    Submitted by:
    /s/Lauminnia F. Nivens
    Lauminnia F. Nivens
    GSB#544710
    1101 1 Street
    Augusta, GA 30901
    706-432-0997
    706-432-0071 (fax)
